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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Norfolk Division

PENINSULA PATHOLOGY
ASSOCIATES,

Plaintiff,
v. Case No. 4:22-mc-1
AMERICAN INTERNATIONAL
INDUSTRIES,

Defendant.

ORDER

This matter is before the court on Peninsula Pathology Associates’ (“Peninsula”) motion
to quash a third-party subpoena from American International Industries (“AII”). (ECF No. 1).
Peninsula “is a medical practice that has been providing pathology services to physicians
throughout Eastern Virginia for more than 50 years.” Mem. Supp. Mot. Quash (“Peninsula’s
Mem.”) (ECF No. 2, at 4). AII, a manufacturer of cosmetic products, served Peninsula with the

third-party subpoena at issue in connection with Gref v. Am. Int’l Indus., et al., No. 1:20-cv-5589,

which is currently being litigated before the United States District Court for the Southern District
of New York. Id. at 5-6. In that case, which was filed in July 2020, AII faces allegations from
plaintiff Brian Gref that he developed mesothelioma as a result of repeated exposure to asbestos
from using cosmetic tale products manufactured by AII and other named defendants. Id.
Peninsula is not involved in the Gref litigation. Id. at 6. However, its employee, Dr.
Theresa S. Emory, co-authored an article in February 2020 entitled “Malignant mesothelioma

following repeated exposures to cosmetic talc: A case series of 75 patients” (“the Article”). Id. at
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4-5. The Article, which was also co-authored by Dr. John C. Maddox—another Peninsula
employee—and Dr. Richard L. Kradin, analyzes the medical and legal records of 75 individuals
with malignant mesothelioma whose only known, reported exposure to asbestos came from
cosmetic talcum powder. Id. at 5. In the Article, which was published in March of 2020 in the
American Journal of Industrial Medicine, the authors’ brief analysis concludes that “cosmetic talc
may be a cause of malignant mesothelioma,” and that “[lJarge-scale controlled studies will be
required to assess the prospective risk of developing mesothelioma following repeated exposures
to talc.” Peninsula’s Mem., Ex. 2 (ECF No. 2-2, at 11).

Mr. Gref’s experts, Dr. Jacqueline Moline and Dr. Murray Finkelstein, have each opined
that Mr. Gref developed malignant mesothelioma as a result of exposure to cosmetic tale. AII’s
Opp’n, Ex. H (ECF No. 4-8, at 23); AII’s Opp’n, Ex. I (ECF No. 4-9, at 280). Both experts
submitted detailed expert reports in support of their opinions. The reports contain detailed
summaries of Gref’s medical treatment and diagnoses, the extensive medical evidence linking
mesothelioma to asbestos exposure, and descriptions of the study of asbestos in talc and cosmetic
talc products. AII’s Opp’n, Ex. H (ECF No. 4-8, at 4-24); AII’s Opp’n, Ex. I (ECF No. 4-9, at 3—
280). Both reports also rely on and cite the Article briefly. AII’s Opp’n, Ex. H (ECF No. 4-8, at
22 n.2); AII’s Opp’n, Ex. I (ECF No. 49, at 233).

On November 7, 2022, AIl served the third-party subpoena on Peninsula seeking to
uncover documents relating to (1) “the Article and underlying study;” (2) “Peninsula and Dr.
Emory’s billing documents, income, and other financial records;” and (3) “SDNY plaintiff Mr.
Gref.” Id. at 6-7. Peninsula responded by filing the instant motion to quash on November 18,
2022. (ECF No. 1). Peninsula argues that AII’s subpoena should be quashed under Federal Rule

of Civil Procedure 45(d), Peninsula’s Mem. (ECF No. 2, at 12-17), which states that a court “must
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quash or modify a subpoena that... subjects a person to undue burden.” Fed. R. Civ. P.
45(d)(3)(A)(iv). AII opposed Peninsula’s motion, (ECF No. 4), and Peninsula replied, (ECF No.
8). The court held a hearing on the motion via Zoom on December 16, 2022. For the reasons
stated on the record and discussed briefly below, after reviewing the parties’ briefs and arguments,
the court GRANTS Peninsula’s motion to quash.

Federal Rule of Civil Procedure 26(b) limits the scope of civil discovery by requiring that
all material sought be both “relevant to any party’s claim or defense and proportional to the needs
of the case.” Fed. R. Civ. P. 26(b)(1). When assessing whether these two requirements—relevance
and proportionality—have been satisfied in a particular case, courts must consider, among other
things, “whether the burden or expense of the proposed discovery outweighs its likely benefit.”
See id.; Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019). However, “[w]hen
discovery is sought from nonparties” in particular, “its scope must be limited even more” beyond

this standard Rule 26(b) analysis. Jordan, 921 F.3d at 189. Additional limitation is necessary

because nonparties “have ‘no dog in [the] fight,’’ and therefore “have ‘a different set of
expectations from the parties themselves.” Id. (quoting Cusumano v. Microsoft Corp., 162 F.3d
708, 717 (1st Cir. 1998)). In short, “[nJonparties faced with civil discovery requests deserve
special solicitude” and “should not be drawn into the parties’ dispute unless the need to include
them outweighs the burdens of doing so, considering their nonparty status.” Id. at 194.

In light of these concerns, “[a] more demanding variant of the [Rule 26(b)] proportionality
analysis ... applies when determining whether, under Rule 45, a subpoena issued against a
nonparty ‘subjects a person to undue burden’ and must be quashed or modified.” Id. at 189
(quoting Fed. R. Civ. P. 45(d)(3)(A)(iv)). “As under Rule 26, the ultimate question is whether the

benefits of discovery to the requesting party outweigh the burdens on the recipient,” but the inquiry
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is “even more demanding and sensitive . . . than the one governing discovery generally” on account
of the subpoena recipient’s nonparty status. Id. (citing In re Mod. Plastics Corp., 890 F.3d 244,
251 (6th Cir. 2018); Citizens Union of N.Y.C. v. Att’y Gen. of N.Y., 269 F. Supp. 3d 124, 138

(S.D.N.Y. 2017); Inre Pub. Offering PLE Antitrust Litig., 427 F.3d 49, 53 (1st Cir. 2005)) (cleaned

up).
Several factors are pertinent to this weighing analysis. When assessing the benefit to the

requesting party, courts should consider, among other things:

the relevance of the information sought [and] the requesting party’s

need for it. The information sought must likely (not just

theoretically) have marginal benefit in litigating important

issues!.... Courts should also consider what information is

available to the requesting party from other sources. To that end,

the requesting party should be able to explain why it cannot obtain

the same information, or comparable information that would also

satisfy its needs, from one of the parties to the litigation—or, in

appropriate cases, from other third parties that would be more

logical targets for the subpoena.
Id. (citations omitted). Likewise, when assessing the burden to the recipient, courts should
consider, among other things, the financial cost of producing the information as well as “other
cognizable burdens,” such as (1) the impact of production on privacy or confidentiality interests;
(2) the interests—including business interests—of the recipient and others who might be affected;
and (3) whether the subpoena is overbroad and would require “tailoring” by the nonparty. Id. at
189-90.

Weighing these factors, I find that the benefits of the subpoenaed material to AII are

significantly outweighed by the burdens on Peninsula and Dr. Emory in responding to the

' “Marginal benefit” simply means that “the information must offer some value over and above what the
requesting party already has.” Jordan, 921 F.3d at 189.

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subpoena. With respect to the benefit of the information to AII, it’s crucial that neither Peninsula
nor Dr. Emory are involved in the Gref litigation. Dr. Emory has not been named as a witness or
deposed. And although Dr. Emory sometimes consults in mesothelioma cases—primarily for
plaintiffs—there is no evidence she has consulted with Gref. Though AII speculated that Gref
may have consulted with Peninsula, it made no factual proffer to that effect despite its ready access
to discovery from him.? And AII has waited until now, over two years into the Gref litigation, to
request that Peninsula produce the information listed in the subpoena. While Dr. Moline and Dr.
Finkelstein do cite the Article in their respective expert reports, they do so minimally—Dr. Moline
cites the Article at the end of a string-cite in a single footnote, AII’s Opp’n, Ex. H (ECF No. 4-8,
at 23), while Dr. Finkelstein’s mention of the Article in his 292-page report accounts for a half
page, most of which is devoted to reproducing the results of 11 tissue digestion studies appearing
in the Article, AII’s Opp’n, Ex. I (ECF No. 4-9, at 233). Additionally, comparing Mr. Gref’s age
and date of diagnosis to the corresponding data for the participants in the Article’s underlying
study—which are already disclosed in the text of the piece itself—it is plain that Mr. Gref was not
one of Dr. Emory’s subjects. See AII’s Opp’n, Ex. E (ECF No. 4-5, at 4-6). All of this evidence
points to the conclusion that the information AII seeks is minimally relevant to their defense in the

Gref litigation.

? At the hearing, AII argued at length that, although Dr. Emory is not an expert in the Gref litigation, the
requested information is nonetheless relevant because Dr. Emory’s article is a driving “linchpin” of modern
talc litigation. However, the question before the court is not whether the Article is relevant to talc litigation
generally, but whether it is relevant to the case at hand—which is Mr. Gref’s pending action in the Southern
District of New York. As such, I make no findings about the relevance of Dr. Emory’s article to talc
litigation generally, whether the subpoena would be proper in a different talc case, or whether the subpoena
would be proper if Dr. Emory or one of her co-authors had been named as an expert witness in the Gref

litigation.
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All has also failed to explain why it cannot obtain from other sources “comparable
information that would also satisfy its needs” for impeachment of Dr. Moline and Dr. Finkelstein
at trial. See Jordan, 921 F.3d at 189. The company argues that it requires the identities of Dr.
Emory’s research subjects to try and prove they had other exposures to asbestos fibers that might
undermine the Article’s conclusion that their mesothelioma “may” have been caused by exposure
to talc. But there is already extensive information on the face of the Article that AII can use to
attack the Article’s conclusion, and its support for the opinions offered by Gref’s experts. For
example, Dr. Emory disclosed that she has “testified in asbestos litigation, primarily for plaintiffs,”
and that her 75 subjects anonymously reported by the Article were derived from “medical-legal
consultation.” See AII’s Opp’n, Ex. E (ECF No. 4-5, at 2, 7). Thus, as AII’s counsel has argued,
there is ample basis to suggest that the self-selected sample of litigation subjects is poorly reflective
of the universe of people exposed to cosmetic talc. In light of these facts, I am persuaded that the
additional information sought by subpoena would be minimally beneficial to AII in the Gref
litigation.

With respect to the burdens on Peninsula and Dr. Emory, AII has made dozens of document
requests intended to encompass any and all records associated with the Article, Peninsula’s and
Dr. Emory’s finances, and Mr. Gref. The overbreadth of these requests, especially given the
minimal relevance of the information sought, is apparent on the face of the subpoena. Peninsula’s
president, Dr. David M. Smith, confirmed in his affidavit that the financial and logistical costs of
gathering these documents and/or reasonably tailoring the production would be significant. Mot.
Quash, Ex. 1 (ECF No. 1-2, at 3) (“Responding to the Subpoena, which contains many requests
concerning the Article, Peninsula’s correspondence with various individuals, Peninsula’s financial

records, and additional materials, would be burdensome and costly, and would divert time and
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resources from Peninsula’s busy medical practice.”). And although, at oral argument, AII limited
its demand to a list of the names of the participants in the Article’s study, Dr. Emory stated in her
affidavit that producing documents identifying those individuals would constitute a violation of
the medical ethics rules by which she is bound as a board-certified physician. Peninsula’s Mem.,
Ex. 2 (ECF No. 2-2, at 4). In light of these facts, I am persuaded that compliance with AII’s
subpoena would force Peninsula and Dr. Emory to bear heavy burdens, both financially and
professionally. Consequently, I conclude that AII’s subpoena imposes an undue burden and
therefore must be quashed under Rule 45(d)(3)(A)(iv).

In its brief filed in support of its motion, Peninsula also argues that AII’s subpoena warrants
sanctions under Rule 45(d)(1). Peninsula’s Mem. (ECF No. 2, at 20-23). Rule 45(d)(1) imposes
a duty on those issuing subpoenas to “take reasonable steps to avoid imposing undue burden or
expense on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). The court “must enforce
this duty and impose an appropriate sanction—which may include lost earnings and reasonable
attorney’s fees—on a party or attorney who fails to comply.” Id. (emphasis added). In its briefing,
All did not address the sanctions argument except to argue that Peninsula had not demonstrated
“bad faith.” AII’s Opp’n (ECF No. 4, at 25 n.12). However, while the court must find bad faith
when imposing sanctions under its inherent authority, when acting under Rule 45(d)(1), bad faith
is not required. See Mount Hope Church v. Bash Back!, 705 F.3d 418, 428 (9th Cir. 2012) (“[BJad
faith is sufficient to invoke Rule 45(c)(1)° sanctions. But we have never stated that bad faith is
necessary, and we do not do so now. More precisely, bad faith is a sufficient ground for sanction,

but it is not a necessary ground if Rule 45(c)(1) is otherwise violated . . . .”); In re Mod. Plastics

3 Formerly, and at the time of the Ninth Circuit’s decision in Mount Hope Church, the text of the current
Rule 45(d)(1) was found in Rule 45(c)(1).
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Corp., 890 F.3d 244, 251 (6th Cir. 2018) (rejecting appellants’ argument “that sanctions may not
be imposed under Rule 45(d)(1) absent a finding of bad faith” because “neither case [cited by
appellants] supports a bad-faith requirement”); Jiangmen Kinwai Furniture Decoration Co. Ltd. v.
IHFC Properties, LLC, No. 1:14-CV-689, 2015 WL 12911773, at *1-2 (M.D.N.C. Oct. 27, 2015)
(finding that, “[w]hile not necessary to the Court’s decision” to award sanctions under Rule
45(d)(1) for an unduly burdensome subpoena, the plaintiff and its attorney had acted in bad faith
and could be subjected to sanction under the court’s inherent authority). In light of my findings
above, I conclude that AII and its attorneys have failed to “take reasonable steps to avoid imposing
undue burden or expense” on Peninsula. See id. Consequently, sanctions are warranted under
Rule 45(d)(1). The court will take the issue of sanctions under advisement and issue a separate
order following requested briefing on the fees incurred matter.

For the foregoing reasons, this court GRANTS Peninsula’s motion to quash. Additionally,
to aid the court in its determination of the appropriate sanctions under Rule 45(d)(1), the court
hereby ORDERS Peninsula to file a sworn statement of its costs and fees by January 4, 2023, and

ORDERS AII to file its response by January 18, 2023.

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Douglas E. Miler 7
United States Magistrate Judge

DOUGLAS E. MILLER
UNITED STATES MAGISTRATE JUDGE

Norfolk, Virginia
December 23, 2022
